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    USDC IN/ND case 2:19-cv-00136-TLS-JEM                                     of zz~no~s
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                                      ~¢Ite Supartor Court, Civ31 Olvklott 5                         Leke County,indtar



       STATE OF INDIANA              }                     LAKE                    COLJItT
                                         SS:               CNIL DNISIOlV,ROOM
       COUNTY qF LAKE                                                               [NDLANA

       NATHAN DAA+IASILIS
                                               }
              Plaintiffs,

              -vs-                                 CAUSE NO.:


       RONALD VANNBSS;and
       RAWHTDE EXPRESS,INC.; and
       XTRA,LGC.
            Defendants.

                      CtJMPLAItVT FOR DAMAGES AND JURY DEMAND

              Comes now the Plaintiffs, Nathan Damasius, by counsel and for their claim

       against the Defendants, Ronald Vannes and Rawhide Express, Inc., states as faliaws:

              1.      At all tirr~s pertinent to the instant complaint, Nathan bamasius,an

       individual, was and currently is a resident of Lake County,Indiana.

              2.      At all times pertinent to the instant complaint, Rana[d Vanness, an

       individual rvarking as a commercial interstate trucker, was and currently is believed to be

      a resident ofLondon, Madison County, Qhio.

              3.     At X11 times pertinent to the instant complaint, Rawhide Express, Inc., was

      and cwrrently is a corporation which employs interstate tntckers, including Ronald

      Vanness, with headquarters ~n Kalkaska, Kalkaska County, Michigan, which regularly

      conducted business within the baucidaries ofthe State of Indiana.

             4.      At all times pertinent to the instant corriplaint, KTRA,LLC., was and

      currently is a corporation which owns and leases vehicles to truckers, with headquarters

      in St. Louis, Missouri.




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               5.     On January 192019,at approximately 2:~ p.tn. the Plaintiff, Nathan

        Datnasius (hereafter "Damasius") was operating his vehicle southbound on Interstate bS

        in the inside lane at or about the 191 mile marl~er near Wolcott, White County, Indiana.

              6.      At said time and place, the Defendant Ronald Vannes(hereafter

       "Vanness"), was operating atractor-trailer combination southbound in the outside Eane,

        when he switched to the inside lane and collided with rear end ofthe vehicle operated by

       Damasius.

              7.      That on January 14, 2019,the Defendan# Vannes owed a duty to Plaintiff

       Damasius,and to all other drivers and passengers upon the roadway a duty to use

       masanable care in the_inspection, maintenance, repair and operation ofthe tractor-trailer

       that he was operating.

              8.      That on or about January 19,2Q 19, the Defendant Vannes breached the         .

       foregoing duties and was negligent.

              ~.      The Defendant Vanness's negligent conduct includes, but is not limited to:

                      a.        Failure #o keep a proper lookout;

                      b.     Failure to maintain contra! of his vehicle;

                      c.        Failure to maintain a safe steed for the conditions;

                      d.     Failure to maintain a safe distance between vehicEes in light ofthe

                             conditions;

                     e.      Failure to make safe and proper lane changes; and

                     f
                     .       Driving in such a manner as to cause a collision.

              10.    The Defendant Vannes, was an agent and/or employee ofDefendants,.

       Rawhide Express Inc. and/or defendant, XTRA,LLC.and Vannes was acting in the




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         course and scope of his agency and/or employment relationship at the time ofthe

         «x~llision, so as to make Defendants, Rawhide Express Inc. andtor defendant, XTRA,

         LLC. liable for the acts of its agent and/or employee.

                1 1.    Regardless ofthe relationship between Vannes gnd itawhide Express

         Inc., Rawhide Express Ina is the owner ofthe USDOT numl~r displayed on the tractor

         unit involved in this collision and Rawhide Express Inc, is therefore Liable for the acts of

         the driver ofthat vehicle.

                12.     Regardless ofthe relationship between Vanness and XTRA,LI.C., XTRA

        LLC. is listed as the Registered owner of the tractor unit involved in this collision and

        XTRA,LLC. is therefore liabte for the acts ofthe driver ofthat vehicle.

                13.     Rawhide Express Inc. and XTRA.,LLC, are authorized to orate motor

        carriers under the Federal Motor Carrier S$fety Act.

                14.    That on or before 3anuary 19,2019, Vannes was an employee, agent

        and/or statutory employee of Rawhide Express Inc. andJor XTRA,LLC,as defined by the

        Federal Motor Carrier Safety Act, and are therefore ligble for the actor omissions of

        Vanness.

                15.    Th$t on or before January 19,20l9, Defendgnts Rawhide Express Inc. and

        XTRA,LLC. owed Piaintiffand other drivers and pgssengers uparr~ the roadway a duty to

        use reasonable care in the inspection, maintenance, repair andlor entrustment in the

        operation of the tractor-traiter owned and/or leased by Rawhide Express Inc. andlor

        XTRA,LL,C..

               l6.     That on or before January 19, 2019,the Defendants Rawhide express Inc.

        and XTRA,LI.C. breached the foregoing duties.




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                     17.     As a direct and proximate cause ofthe negligent conduct ofthe              '

              Defendants, the Plaintiff Nathan Damasius suffered injuries, some ofwhich are

              permanent, suffered past, present and future expenses for medical care, testing and

              treatment, suffered past, present, and future physical and mental pain, suffered past

              present and future inconvenience, lost wages,and suffered an inability to engage in his

             normal daily activities for an indefinite period oftime.



                     WHEREFORE,the Plaintiff, Nathan Darnasius, demand judgment against the

             Defendants, and requests the following relief:

                     1.     Reasonable compensatory damages;

                    2.      Costs ofthis action; and

                     3.     For alI otherjust and proper relief.

                                                           Respectfully submitted,




                                                              J    ua S.~Maihe~, Attorney #29008.6
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                   PLAINTIFFS DE~'IAND TRIAL BY JURY.


                                     Respectfully submitted,




                                       Ja ua'S.,`Malhef, Attorney #29QQ6.64
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